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Denver C. Snuffer (3032)
Daniel B. Garriott (9444)
NELSON, SNUFFER, DAHLE & POULSEN
10885 South State
Sandy, Utah 84070
Telephone: (801) 576-1400
Facsimile: (801) 576-1960

Attorneys for Defendants



                      IN THE UNITED STATES DISTRICT COURT

                          DISTRICT OF UTAH, CENTRAL DIVISION


1-800 CONTACTS, INC., a Delaware
corporation,                                    CERTIFICATE OF SERVICE OF
                                               DEFENDANTS LENSFAST, L.L.C.
             Plaintiff,                          d/b/a CONTACTLENS.COM,
                                                     LENSFAST.COM, E-
      v.                                      CONTACTS.COM, AND RANDOLPH
                                              WEIGNER'S FED. R. CIV. P. 26(a)(1)
LENSFAST, L.L.C. d/b/a                             INITIAL DISCLOSURES
CONTACTLENS.COM,
LENSFAST.COM, and E-
CONTACTS.COM, a Limited Liability
Company of Wyoming, and                      Civil No. 2:08-cv-00984 DAK
RANDOLPH WEIGNER, of Meredith,
New Hampshire,                               Judge Dale A. Kimball

               Defendants.


      I hereby certify that I served a true and correct copy of the foregoing first class mail,

postage prepaid, that further, I electronically filed DEFENDANTS LENSFAST, L.L.C. d/b/a

CONTACTLENS.COM, LENSFAST.COM, E-CONTACTS.COM, AND RANDOLPH




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WEIGNER'S FED. R. CIV. P. 26(a)(1) INITIAL DISCLOSURES foregoing with the Clerk of

Court using the CM/ECF system which sent notification of such filing to the following:

       Bryan G. Pratt
       RADER, FISHMAN & GRAUER, PLLC
       10653 South River Parkway, Suite 150
       South Jordan, UT 84095
       bgp@raderfishman.com

       Kristin L. Murphy
       RADER, FISHMAN & GRAUER
       39533 Woodward Ave., Ste. 140
       Bloomfield Hills, MI 48304
       klm@raderfishman.com

       Linda D. Mettes
       RADER, FISHMAN & GRAUER
       39533 Woodward Ave., Ste. 140
       Bloomfield Hills, MI 48304
       ldm@raderfishman.com

       R. Terrance Rader
       RADER, FISHMAN & GRAUER
       39533 Woodward Ave., Ste. 140
       Bloomfield Hills, MI 48304
       rtr@raderfishman.com


       DATED this 7th day of July, 2009.


                                           /s/ Daniel B. Garriott




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